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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 UNITED STATES OF AMERICA,                                       Case No.   4:20-CR-06028-SMJ-1,3,5
                                                                 CRIMINAL MINUTES
                                       Plaintiff,
        -vs-                                                     DATE:     JULY 8, 2022
                                                                 LOCATION: RICHLAND
 AMADO DE LA MORA CARDENAS (1),
 CARLOS MADRIGAL DENIZ (03) AND                                  PRETRIAL CONFERENCE
 PASCUAL MASQUEDA SALINAS (5),

                                       Defendants.

                                       Hon. Salvador Mendoza, Jr.
          Nicole Cruz                       02               Natalia Rivera              Kimberly Allen
      Courtroom Deputy                 Law Clerk              Interpreter                Court Reporter
                                                               Troy Lee for Amado De La Mora Cardenas
                 Stephanie Van Marter                          Nicholas Marchi for Carlos Madrigal Deniz
                                                            Ricardo Hernandez for Pascual Masqueda Salinas
                 Government Counsel                                           Defense Counsel

       [X] Open Court                         [ ] Chambers                          [ ] Teleconference

Amado De La Mora Cardenas, Carlos Madrigal Deniz and Pascual Masqueda Salinas present, in custody of US
Marshal; being assisted by Court’s interpreter.

Ms. Van Marter advises Mr. Pascual Masqueda anticipates entering a change of plea on 7/28/2022 at 1:30 p.m.

Mr. Hernandez on behalf of Mr. Pascual Masqueda agrees.

Colloquy between Court and counsel regarding trial date; Parties anticipate 7-8 days for trial.

Court: Trial is RESET to 08/10/2022 at 8:30 a.m. in Richland; additional Pretrial Conference is SET for
08/05/2022 at 3:30 p.m. in Richland.

Ms. Van Marter orally moves to allow additional report by fingerprint examiner.
Objection by Mr. Marchi.




[X] ORDER FORTHCOMING

 CONVENED: 10:19 A.M.           ADJOURNED: 11:11 A.M.          TIME:     0:52 HR.       CALENDARED        [X]
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Pretrial Conference


Court: Government shall provide defense counsel with the fingerprint examiner’s report no later than
7/18/2022; Defendant’s counsel shall file extenuating motions no later than July 25, 2022 and Government’s
reply due no later than 8/1/2022.

Ms. Van Marter orally moves for an in camera review regarding confidential informant.

Court: Government shall submit documents for in camera review no later than July 12th at 12:00 p.m.

Argument by Ms. Van Marter regarding Defendant Carlos Deniz’ to Motion in Limine (ECF 162).
Argument by Mr. Marchi in support of motion.

Court: Defendant Deniz Motion in Limine RESET to 8/05/2022 at 8:30 a.m. in Richland.

Colloquy between court and counsel regarding jury questionnaire.

Court: parties shall file a proposed agreed questionnaire no later than 7/13/2022 by 8:00 a.m.; Parties shall
contact the Courtroom Deputy not later than 7/20/2022 as to technology readiness and by 8/2/2022 regarding
the JERS system.

Court and counsel discuss trial mechanics. Letter to follow summarizing the Courts protocol for trial.
